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      MICHAEL N. FEUER, City Attorney - SBN 111529
  1   JAMES P. CLARK, Chief Deputy City Attorney – SBN 64780
      CORY M. BRENTE, Senior Assistant City Attorney – SBN 115453
  2   GEOFFREY PLOWDEN, Deputy City Attorney – SBN 146602
      200 North Main Street, 6th Floor, City Hall East
  3   Los Angeles, California 90012
      Phone No.: (213) 978-7038
  4   Fax No.: (213) 978-8785
      Email: geoffrey.plowden@lacity.org
  5
      Attorneys for Defendants, CITY OF LOS ANGELES, LOS ANGELES POLICE
  6   DEPARTMENT, MONICA QUIJANO, RICHARD TAMEZ and
      SCOTT SMITH
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  8
                                  UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
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 11
      LUIS LORENZO VARGAS,                            CASE NO. CV16-08684 SVW (AFMx)
 12                                                   Hon. Stephen V. Wilson, Ctrm. 10A
                                                      Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.
 13                  Plaintiff,
 14         v.                                        DEFENDANTS’ OPPOSITION TO
                                                      PLAINTIFF’S MOTION TO PERMIT
 15                                                   EXPERT TESTIMONY AND
      CITY OF LOS ANGELES; LOS                        OPINION; DECLARATION OF
 16   ANGELES POLICE DEPARTMENT;                      GEOFFREY PLOWDEN; EXHIBIT
      COUNTY OF LOS ANGELES; OFFICE
 17   OF THE LOS ANGELES DISTRICT                     Hearing: 6/10/19
      ATTORNEY; LOS ANGELES                           Time:        1:30 p.m.
 18   SHERIFF’S DEPARTMENT; MONICA                    Place:       Courtroom 10A
      QUIJANO; RICHARD TAMEZ; and                     First Street Courthouse
 19   DOES 1-10 INCLUSIVE,                            350 West 1st Street
                                                      Los Angeles, CA 90012-4565
 20                  Defendants.
 21
      TO THIS HONORABLE COURT, PLAINTIFF AND HIS COUNSEL:
 22
                 Defendants submit the following opposition to Plaintiff’s (unsolicited) Motion
 23
      to Permit Expert Testimony and Opinion.
 24
                 This opposition is based on the accompanying Memorandum of Points and
 25
      Authorities, the accompanying Declaration of Geoffrey Plowden (“Plowden Decl.”) and
 26
      exhibit, as well as the Court’s files and records herein.
 27
                 The bases for the opposition are as follows: This Court has already advised the
 28
      parties experts need not be utilized for trial. Plaintiff’s experts seek to introduce
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  1   opinions which are for the jury to determine for themselves. The disclosure of these
  2   experts was very late, in violation of F.R.Civ.P. Rule 26(a)2(D), and unfairly prejudice
  3   defendants.
  4   Dated: May 20, 2019          MICHAEL N. FEUER, City Attorney
  5                                By:        /s/ Geoffrey Plowden
  6                                    GEOFFREY PLOWDEN, Deputy City Attorney
  7                                Attorneys for Defendants CITY OF LOS ANGELES,
                                   LOS ANGELES POLICE DEPARTMENT,
  8                                MONICA QUIJANO, RICHARD TAMEZ and
  9                                SCOTT SMITH

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  1                       MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.       PROCEDURAL HISTORY
  3            On November 21, 2016, over two and a half years ago, plaintiff filed this
  4   action. The parties engaged in law and motion, discovery and conferences with the
  5   Court. At no time during this period of time did plaintiff make Rule 26(a) expert
  6   disclosures. (See, accompanying Declaration of Geoffrey Plowden “Plowden Decl.”)
  7   Then, on April 15, 2019, this Court set the matter for trial for June 25, 2019. Again,
  8   plaintiff did not promptly serve disclosures upon defendants. Plaintiff waited until May
  9   6, 2019 to finally serve Rule 26(a) expert disclosures. Defendants have been prejudiced
 10   by this delay. (Plowden Decl.)
 11            At the Status Conference of April 15, 2019, the Court advised the parties that
 12   expert witnesses were not necessary for the trial. (See p. 13, Reporter’s Transcript
 13   (“RT”), attached as Exhibit 1 Plowden Decl.) And specifically, the Court stated that
 14   plaintiff’s retained legal expert, Kurt Hermansen, should not be opining on materiality
 15   for the jury. (Plowden Decl. Ex. 1, p.13) The Court also advised plaintiff that plaintiff’s
 16   police practices expert, Roger Clark, would not be allowed. (Plowden Decl., Ex. 1,
 17   p. 15) At the conclusion of the status conference, the Court directed defendants to file a
 18   motion for partial summary judgment as to the Monell claim. A minute order reflecting
 19   that directive was entered. (Doc. 188) No minute order was entered directing plaintiff to
 20   file a motion to permit experts.
 21   II.      PLAINTIFF’S MOTION TO HAVE EXPERTS HERMENSEN AND
 22            CLARK RENDER LEGAL OPINIONS AND FACTUAL CONCLUSIONS
 23            MUST BE DENIED.
 24            Since all of Mr. Hermansen and Mr. Clark’s opinions about the Brady claim
 25   directly state their views on how the jury should decide the ultimate issues in this case,
 26   all of those opinions are inadmissible in this matter. For example, Mr. Clark opines “the
 27   information (that there were other rapes reported to LAPD) was either deliberately
 28   withheld from the district attorney or erroneously and negligently withheld from the

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  1   district attorney.” (Doc. 193-1, p. 23 of 148) He further opines “their failure to consider
  2   the alleged crimes in the context to other obvious similar crimes he could not have
  3   committed and to include all exculpatory evidence to the district attorney. (sic) Their
  4   failures in this regard are obvious, and they are a reckless abuse of their police powers.”
  5   (Doc. 193-1, p. 24 of 148)1 Such opinions and conclusions do not assist the trier of fact
  6   in any way.
  7            When it comes to expert opinions about police practices in §1983 cases, while
  8   there is no doubt that under Rules 702 and 704 an expert may testify about the applicable
  9   professional standards and the [police] defendants’ performance in light of those
 10   standards...expert opinions will be excluded to the extent that they are phrased in terms
 11   of inadequately explored legal criteria or otherwise tell the jury what result to reach.
 12   See, Halcomb v. Washington Metro. Area Transit Auth., 526 F.Supp.2d 24, 27 (D.D.C.
 13   2007), (excluding expert opinion testimony on the reasonableness of the force used by a
 14   police officer in a 1983 excessive force case, citing Fed. R.Evid. 704, Advisory
 15   Committee's Note.)
 16            Mr. Hermansen is even bolder in his factual findings and conclusions: “I
 17   conclude that the suppressed evidence is “material” since there is more than a reasonable
 18   probability that admitting the evidence would have undermined confidence in the
 19   verdict…” (Doc. 193-1, p. 100 of 143) He further states, “I conclude that the third-party
 20   culpability evidence that was allegedly suppressed rather than disclosed to Vargas was
 21   material. And failing to disclose it prejudiced Vargas, resulting in his wrongful
 22   conviction.” (Doc. 193-1, p. 102 of 143)2
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 24        1
             Mr. Clark’s opinions really relate to eyewitness identification procedures and
 25     other aspects of the investigation, unrelated to the claim at issue in this case. Under
        403, such opinions are irrelevant, will waste time, and confuse the jury.
 26        2
             Mr. Hermansen’s report is not signed, in violation of Rule 26(a). Further, his
 27     opinions are based on the fact that there was a “attacker series” book and
        investigation of the “Teardrop-Rapist”. However, that investigation and book was
 28     created after Vargas’ conviction in 2000, and was unknown to defendants Quijano

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  1            Under Federal Rule of Evidence 702 expert opinion testimony is only

  2   admissible if scientific, technical, or other specialized knowledge will assist the trier of

  3   fact to understand the evidence or to determine a fact in issue. Thus, as a general rule,

  4   federal case law holds that expert testimony should not be permitted if it concerns a

  5   subject improper for expert testimony, for example, one that invades the province of the

  6   jury... United States v. Binder, 769 F.2d 595, 602 (9th Cir. 1985) (holding, for example,

  7   that credibility is a matter to be decided by the jury), overruled in part on other grounds

  8   by United States v. Morales, 108 F.3d 1031, 1035 n. 1 (9th Cir. 1997). This rationale for

  9   excluding expert testimony rests in Rule 702’s statement that expert testimony is only

 10   admissible if it will assist the trier of fact to understand the evidence or to determine a

 11   fact in issue. See Fed. R. Evid. 702; United States v. Arenal, 768 F.2d 263, 269 (8th Cir.

 12   1985) (concluding that expert opinion should be excluded on subject matter within the

 13   knowledge or experience of the jury, because the testimony does not then meet the
 14   helpfulness criteria of Rule 702). In other words, the general test regarding the
 15   admissibility of expert testimony is whether the jury can receive appreciable help from
 16   such testimony. See United States v. Gwaltney, 790 F.2d 1378, 1381 (9th Cir. 1986)
 17   Along these lines, when an expert undertakes to tell the jury what result to reach,
 18   this does not aid the jury in making a decision, but rather attempts to substitute
 19   the expert’s judgment for the jury’s. See Muktar v. California State Univ. Hayward,
 20   299 F.3d 1053, 1065 n. 10 (9th Cir. 2002) (emphasis added). Accordingly, although
 21   Rule of Evidence 704 allows a witness to give an opinion that embraces an ultimate
 22   issue, an expert witness may not decide disputed facts, may not give legal
 23   conclusions, and may not give credibility determinations because credibility issues
 24   and issues of fact are to be decided by the jury, and conclusions and instructions of law
 25   are the exclusive province of the court. See, Wisler v. City of Fresno, 2008 U.S. Dist.
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 27
        and Smith. Again, under Rule 403, such opinions are irrelevant, will waste time and
 28     confuse the jury.

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  1   LEXIS 73223, *6 (E.D. Cal. 2008)(excluding a police expert=s opinion that officers

  2   acted with deliberate indifference, and thus unconstitutionally, because that was the

  3   ultimate issue in the ' 1983 case) (emphasis added); accord Hangarter v. Provident

  4   Life & Accident Ins. Co., 373 F.3d 998, 1016-1017 (9th Cir. 2004); Halcomb, 526

  5   F.Supp.2d at 27 (Expert testimony consisting of legal conclusions is impermissible

  6   because such testimony merely states what results should be reached, thereby

  7   improperly influencing the decisions of the trier of fact and impinging upon the

  8   responsibilities of the court....).

  9       It is improper [under Rule 702] for an expert witness to offer an opinion on an

 10   ultimate issue of law. See Provencio v. Vasquez, 2010 U.S. Dist. LEXIS 59731, *23 n.

 11   8 (E.D. Cal. 2008) (disregarding as improper ultimate issue testimony an expert’s
 12   opinions as to whether persons were deliberately indifferent to a medical condition)
 13   (quotation marks omitted).
 14         Both Clark and Hermansen seek to not only opine on an ultimate issue of law,
 15   they want to opine on materiality, a jury’s function. They want to opine as to their
 16   findings as to disputed facts. Again, a jury’s function. Their conclusions, while
 17   certainly helpful to plaintiff, do not assist the trier of fact, and unfairly prejudice
 18   defendants. The jury must decide for themselves what the facts are, and whether the
 19   allegedly withheld evidence is material.
 20         a.    Hermansen’s Opinion that the Reports of Other Uncharged,
 21         Unidentified Rapes Constitute Admissible Evidence Is Pure Speculation.
 22         Mr. Hermansen’s opinion that the introduction of uncharged, unidentified reports
 23   of other sexual assaults into evidence was inevitable, and thus their suppression by
 24   defendants was material to plaintiff’s guilt, is rank speculation. There is no factual
 25   support for this in the record. He does not know what the trial attorneys or judge
 26   thought about the discoverability and admissibility of such evidence. He cites not
 27   testimony on point. There are no scientific studies on point. Again, he just offers a
 28   conclusion.

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  1         Additionally, Hermansen fails to cite the high bar Vargas would have had to

  2   overcome to even discover and introduce such evidence: “[W]hen evidence is

  3   advanced that a third party may have committed the crime,” California courts have

  4   interpreted Evidence code Section 352 to prohibit the admission of such evidence “if

  5   it simply affords a possible ground of suspicion against [another] person; rather it must

  6   be coupled with substantial evidence tending to directly connect that person with the

  7   actual commission of the offense.” Perry v. Rushen, 713 F.2d 1447, 1449 (9th Cir.

  8   1983) (quoting People v. Green, 609 P.2d 468, 480 (Cal. 1980)). As the Court is

  9   aware, in the 1994-2000 time period, LAPD had no identifiable suspects under arrest

 10   or in custody for any of the 11 other “similar” crimes. Vargas, for the unrelated crimes

 11   committed before his arrest, may actually have been a viable suspect. Certainly, there

 12   was no “substantial evidence” connecting a certain person to those uncharged

 13   offences. Similarly, there was no specific evidence a specific person other than
 14   Vargas, who committed the three crimes for which Vargas was charged, thus making
 15   the information not even discoverable, let alone admissible at trial.3
 16         Thus, the underpinning of Hermansen’s materiality opinion that the suppressed
 17   evidence was inevitably discoverable and would have been introduced at trial is pure
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          In People v Littleton, 7 Cal.App. 4th 906, 911 (1992), the court denied an accused
 23     discovery of uncharged similar crime reports. The Court found such evidence
        involved confidential, privileged information (such as the names of victims in the
 24     reports) and the relevance did not outweigh the government’s (and victim’s)
 25     interests in keeping the information confidential. In People v Sandoval, 4 Cal.4th
        155, 176 (1992), the court denied the accused the right to present evidence of
 26     uncharged crimes committed by third parties at trial (where no one was arrested or
 27     in custody), per Cal. Evid. Code section 352.
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  1   speculation (he cites no on point), as any introduction of such evidence would not

  2   likely have taken place.4 Such speculation cannot form the bases of expert testimony.

  3   IV. THE DISCLOSURE OF PLAINTIFF’S EXPERTS WAS VERY LATE

  4             AND IN VIOLATION OF F.R.CIV.P RULE 26(A)2(D), AND PREJUDICES

  5             DEFENDANTS.

  6             On November 21, 2016, over two and a half years ago, plaintiff filed this action.

  7   The parties engaged in law and motion, discovery and conferences with the Court.

  8   Plaintiff, except for Monell discovery, claimed he was ready for trial in March.

  9   (Plowden Decl.) Per Rule 26(a)2(D) Time to Disclose Expert Testimony. A party

 10   must make these disclosures at the times and in the sequence that the court orders.

 11   Absent a stipulation or a court order, the disclosures must be made: (i) at least 90 days

 12   before the date set for trial or for the case to be ready for trial .

 13              At no time during this period of time did plaintiff make Rule 26(a) expert
 14   disclosures. (Plowden Decl.) Then, on April 15, 2019, this Court set the matter for trial
 15   for June 25, 2019. Again, plaintiff did not promptly serve disclosures upon defendants:
 16   Plaintiff waited until May 6, 2019 to finally serve Rule 26(a) expert disclosures.
 17              This delay had prejudiced defendants. Plowden Decl. Defendants were of the
 18   same mindset of the Court; outside experts are unnecessary in this trial. Given the
 19   delay by plaintiff, as well as the defendants’ experience with the Court, defendants did
 20   not retain experts.
 21              Hermansen’s’ report is unsigned. The report violates Rule 26(a)2(B), which
 22   requires a written report prepared and signed by the expert.
 23   ///
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 27           Indeed, in People v. Andrade, 238 Cal. App. 4th 1274, 1289 (2015) a case relied on
            by Mr. Hermansen, the trial court excluded as speculative the accused’s
 28         introduction of other similar rape reports (of suspects posing as police officers,
            raping prostitutes, even those occurring after his arrest.
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  1   V.   CONCLUSION

  2        Plaintiff has not provided good cause for introduction of his experts’ opinions

  3   and conclusions in this case. These opinions will usurp the jury’For the reasons set

  4   forth above, Plaintiff’s Motion to Permit Expert Opinion and Testimony should be

  5   denied.

  6   Dated: May 20, 2019       MICHAEL N. FEUER, City Attorney
                                JAMES P. CLARK, Chief Deputy City Attorney
  7                             CORY M. BRENTE, Assistant City Attorney
  8                             By:    /s/ Geoffrey Plowden                  .




                                 GEOFFREY PLOWDEN, Deputy City Attorney
  9
                                Attorneys for Defendants CITY OF LOS ANGELES,
 10                             LOS ANGELES POLICE DEPARTMENT,
                                MONICA QUIJANO, RICHARD TAMEZ and
 11                             SCOTT SMITH
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 1                     DECLARATION OF GEOFFREY PLOWDEN

 2         I, Geoffrey Plowden, declare the following to be true and correct:

 3         1.   I am an attorney at law, duly admitted to practice before the Court, and am

 4   counsel for defendants in the matter of Vargas v. City of Los Angeles. I am familiar

 5   with the file materials in this case, the underlying criminal prosecution of plaintiff, I

 6   am a former Deputy District Attorney, and have tried civil rights cases in the U.S.

 7   District Court, Central District for more than 18 years.

 8         2.   For over two years this case has been at issue. At no time during this period

 9   of time did plaintiff make Rule 26(a) expert disclosures. In March, 2019 plaintiff tried

10   to push this case for trial, saying they were ready to proceed, but wanted Monell

11   discovery. Then, on April 15, 2019, this Court set the matter for trial for June 25,

12   2019, the date plaintiff requested. Again, plaintiff did not promptly serve disclosures

13   upon defendants: Plaintiff waited until May 6, 2019 to finally serve Rule 26(a) expert
14   disclosures. This is gamesmanship. As of March, 2019 plaintiff had a trial date in
15   mind. He certainly must have had his experts lined up then. Why not disclose their
16   reports?
17         3.   This delay has unfairly prejudiced defendants. Defendants were of the same
18   mindset of the Court; outside experts are unnecessary in this trial. Given the delay by
19   plaintiff, as well as the defendants’ experience with the Court, defendants did not
20   retain experts. If plaintiff’s proffered experts are allowed to render these outrageous
21   opinions and conclusions without opposing opinions, defendants will likely lose this
22   case. Defendants may have to seek a continuance of the trial. It is for the jury, not the
23   experts, to decide if evidence not disclosed was material.
24         4.   Attached as Exhibit 1 to this declaration are true and correct copies of the
25   Reporter’s Transcript of the Status Conference of April 15, 2019. A pp. 13 -15 the
26   ///
27   ///
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 1   Court advised the parties of its position on the use of experts in this trial. I have relied

 2   on the Court’s reasoning in preparation for trial.

 3         I declare under the penalty of perjury under the laws of the United States that the

 4   foregoing is true and correct. Executed this 20th day of May, 2019, at Los Angeles,

 5   California.

 6                                     /s/ Geoffrey Plowden
                                 ___________________________
 7                                         Declarant
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